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         C E R T I F I C A T E         O F     S E R V I C E


I, David Alan Carmichael, as case manager for the
Plaintiffs, hereby certify that I delivered the document
called “Plaintiffs’ Combined Motion To Compel Defendants To
Issue Passport Renewals To Lewis And Pakosz” with its
proposed order, memorandum in support, and attachments in
the case of Carmichael v. Blinken, #1:19-CV-02316-RC.

    The Defendant was notified electronically:

    United States Attorney
    United States Attorney's Office
    c/o Christopher Hair
    555 4th Street, N.W.
    Washington, D.C. 20530

    Copies or originals are in the custody of, or are
    mailed or delivered by other hardcopy service to:

    William Mitchell Pakosz
    Box 25
    Matteson, Illinois 60443

    Lawrence Donald Lewis
    966 Bourbon Lane
    Nordman, Idaho 83848

    And I served myself

Under penalty of perjury under the laws of the United
States, the foregoing is true.


S/ David Alan Carmichael
David Alan Carmichael
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